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 4
     Entered on Docket
 5 __________________________________________________________________
     August 03, 2018

 6
     ELIZABETH STEPHENS, ESQ.
 7   Nevada Bar No. 5788
     Sullivan Hill Rez & Engel
 8   228 South Fourth Street, First Floor
     Telephone 702-382-6440
 9   stephens@sullivanhill.com
     Attorney for Mojave Desert Holdings LLC
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                                 UNITED STATES BANKRUPTCY COURT
14                                  FOR THE DISTRICT OF NEVADA
15
     In re:                                              Case No. 18-10453-LEB
16
     U.S.A. DAWGS, INC.,                                 Chapter 11
17
                             Debtor.                     Adv. No.: 18-01011-leb
18
     U.S.A. Dawgs, Inc.                                  NOTICE OF HEARING AND ORDER
19                                                       SHORTENING TIME ON MOTION TO
                            Plaintiff,                   CONTINUE MOTION TO DISMISS
20
              v.                                           Date: August 6, 2018
21
     GEMCAP LENDING I, LLC. A                              Time: 9:30 A.M.
22
     DELAWARE LIMITED LIABILITY                          Place: Courtroom No. 3, Third Floor
23                                                              Foley Federal Building
     COMPANY                                                    300 Las Vegas Blvd. S.
24                                                              Las Vegas, NV 89101
                             Defendant.
25

26             The Court having considered the ex parte motion of Interested Party Mojave Desert
27   Holdings, LLC for continuance of Defendant GemCap Lending LLC’s (“GemCap”) Motion to
28   Dismiss Adversary Complaint (“Motion”) and good cause appearing:
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 1          IT IS HEREBY ORDERED that Mojave’s Motion for Order Shortening time is Granted.
 2          IT IS FURTHER ORDERED that Mojave’s Motion for Continuance will be heard on
 3   August 6, 2018 at ________________.
     _____________         9:30 A.M.
 4          IT IS SO ORDERED.
 5

 6

 7   SULLIVAN HILL LEWIN REZ & ENGEL
     A Professional Law Corporation
 8
     By:    /s/ Elizabeth E. Stephens
 9          James P. Hill
            Elizabeth E. Stephens
10          Attorneys for Mojave Desert Holdings LLC

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